  Case 3:16-cv-02255-L Document 196 Filed 08/30/18                 Page 1 of 3 PageID 10014


                         IN THE UNITED STATES DISTMCT COURT
                         FOR THE NORTHERN DISTMCT OF TEXAS
                                   DALLAS DIVISION

STATE AUTOMOBILE MUTUAL §
INSURANCE COMPANY, §
    Plaintiff §
V.                                  §
                                                 §
FREEHOLD MANAGEMENT, INC. AND §
RETAIL PLAZAS, INC., § CIVIL ACTION NO. 3:16-CV-02255-L
   Defendants §
                                                 §
V.                                  §
                                                 §
FREEHOLD MANAGEMENT, §
INC., RETAIL PLAZAS, INC., AND §
RPI DENTON CENTER, LTD. §


 STATE AUTOMOBILE MUTUAL INSURANCE COMPANY'S AMENDED MOTION
 TO STRIKE AND/OR EXCLUDE THE EXPERT TESTIMONY OF MATT PHELPS,
ROCCO CALACI, ROGER GRIMM, GARY B. TREIDER, AND CAROLYN COLEMAN


        NOW COMES State Automobile Mutual Insurance Company (hereinafter "State Auto"),

in its capacity as Plaintiff in the above numbered and titled cause, and files its Amended Motion

to Strike and/or Exclude the Expert Testimony of Matt Phelps, Rocco Calaci, Roger Grimm, Gary

B. Treider, and Carolyn Coleman ("Motion") (collectively "Defendants' experts").


        As is more fully explained in the accompanying Second Amended Brief in Support of

Plaintiffs Motion, the opinions and testimony of Defendants' experts should be stmck for the

reason that their opinions are not reliable or relevant as required by Federal Rule of Evidence 702


and Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993). Specifically, the experts' opinions


were based on inaccurate information resulting in skewed results and were improperly applied to the

facts of the instant case.


67V8322.DOCX
STATE AUTOMOBILE MUTUAL INSURANCE COMPANY'S AMENDED MOTION TO STRIKE
AND/OR EXCLUDE THE EXPERT TESTIMONY OF MATT PHELPS, ROCCO CALACI, ROGER
GRIMM, GARY B. TREIDER, AND CAROLYN COLEMAN Page 1
  Case 3:16-cv-02255-L Document 196 Filed 08/30/18                  Page 2 of 3 PageID 10015




        State Auto files this Amended Motion requesting that this Court strike the expert

testimony and opinions rendered by Defendants' experts Matt Phelps, Rocco Calaci, Roger


Grimm, Gary B. Treider, and Carolyn Coleman, and for any and all additional relief that State

Auto may show itself justly entitled at law or in equity.

       Respectfully submitted, this 30th day of August, 2018.



                                              /s/Charles B. Mitchell. Jr.
                                              CHARLES B. MITCHELL, JR.
                                              State Bar No. 14207000
                                              FederalIDNo. 16627
                                              MICHAEL SHANE O'DELL
                                               State Bar No. 24065835
                                              NAMAN, HOWELL, SMITH & LEE, PLLC
                                              306 West 7th Street, Suite 405
                                              Fort Worth, Texas 76102-4911
                                              Telephone: 817.509-2040
                                              Facsimile: 817.509-2060
                                              Email: charl es. mitchell(%namanhowel 1. corn
                                              Email: sodell(%namanhowell.com


                                              ATTORNEY FOR PLAINTIFF,
                                              STATE AUTOMOBILE MUTUAL
                                              INSURANCE COMPANY




                              CERTIFICATE OF CONFERENCE

        On August 6, 2018, counsel for Plaintiff conferred with Todd Lipscomb, counsel for
Defendants, Freehold Management, Inc. and Retail Plazas, Inc., regarding the merits of this
motion in an attempt to resolve the matters addressed in same and was advised that Defendants'
counsel was opposed to this motion.



                                                      /s/ Charles B. Mitchell. Jr.
                                                      CHARLES B. MITCHELL, JR.
67V8322.DOCX
STATE AUTOMOBILE MUTUAL INSURANCE COMPANY'S AMENDED MOTION TO STRIKE
AND/OR EXCLUDE THE EXPERT TESTIMONY OF MATT PHELPS, ROCCO CALACI, ROGER
GRIMM, GARY B. TREIDER, AND CAROLYN COLEMAN Page 2
 Case 3:16-cv-02255-L Document 196 Filed 08/30/18                Page 3 of 3 PageID 10016




                                 CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the above and foregoing has been served
on the 30th day of August, 2018, as follows via E-mail and via the Court's ECF system, which
sent notification to the following:

       Via E-mail and Via E-Service
       Robert W. Loree
       Todd Lipscomb
       Cassandra Pruski
       Law Offices ofLoree & Lipscomb
       The Terrace at Concord Park
       777 E. Sonterra Blvd., Suite 320
       San Antonio, Texas 78258

       Via E-mail and E-Service
       Christopher D. Kratovil
       Alison R. Ashmore
       DYKEMA COX SMITH
       1717 Main Street, Suite 4200
       Dallas, Texas 75201



                                                    /s/Charles B. Mitchell. Jr.
                                                    Charles B. Mitchell, Jr.




67V8322.DOCX
STATE AUTOMOBILE MUTUAL INSURANCE COMPANY'S AMENDED MOTION TO STRIKE
AND/OR EXCLUDE THE EXPERT TESTIMONY OF MATT PHELPS, ROCCO CALACI, ROGER
GRIMM, GARY B. TREIDER, AND CAROLYN COLEMAN Page 3
